Case 8:23-bk-10571-SC       Doc 161 Filed 06/29/23 Entered 06/29/23 19:09:08               Desc
                             Main Document     Page 1 of 4


 1   Michael A. Sweet (SBN 184345)
     Keith C. Owens (SBN 184841)
 2   Nicholas A. Koffroth (SBN 287854)
     FOX ROTHSCHILD LLP
 3   10250 Constellation Blvd., Suite 900
     Los Angeles CA 90067
 4   Telephone:    (310) 598-4150
     Facsimile:    (310) 556-9828
 5   msweet@foxrothschild.com
     kowens@foxrothschild.com
 6   nkoffroth@foxrothschild.com
 7   Proposed Counsel For Official Committee of Unsecured Creditors
 8
                              UNITED STATES BANKRUPTCY COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
                                     SANTA ANA DIVISION
10
      In re:                                           Chapter 11
11
      THE LITIGATION PRACTICE GROUP,                   Case No. 8:23-bk-10571-SC
12    P.C.,
                                                       NOTICE OF APPEARANCE AND
13                                                     REQUEST FOR SPECIAL NOTICE AND
                Debtor.                                SERVICE OF PAPERS, AND REQUEST
14                                                     FOR INCLUSION ON MASTER
                                                       MAILING LIST
15

16

17             TO    THE    HONORABLE         SCOTT       C.   CLARKSON,         UNITED       STATES
18   BANKRUPTCY JUDGE; THE OFFICE OF THE UNITED STATES TRUSTEE;
19   COUNSEL TO THE DEBTOR AND OTHER INTERESTED PARTIES:
20             PLEASE TAKE NOTICE that the undersigned, pursuant to Section 342 of the Bankruptcy
21   Code and Rules 2002, 3017, 9007, and 9010(b) of the Federal Rules of Bankruptcy Procedure
22   (“Bankruptcy Rules”), hereby appears on behalf of the Official Committee of Unsecured Creditors
23   (the “Committee”) appointed [Docket Nos. 134, 157] in the above-captioned Chapter 11 case of
24   The Litigation Practice Group, P.C. (the “Bankruptcy Case”) and requests that it be served with all
25   papers and pleadings filed in the Bankruptcy Case or any proceedings which require notice to
26   parties in interest, including without limitation, all notices and papers referred to in Bankruptcy
27   Rules 2002, 3017, 9007, and 9010(b); copies of all notices of any orders, applications, complaints,
28
Case 8:23-bk-10571-SC       Doc 161 Filed 06/29/23 Entered 06/29/23 19:09:08                Desc
                             Main Document     Page 2 of 4


 1   demands, hearings, motions, petitions, pleadings or requests (whether for relief from stay, adequate
 2   protection or otherwise); any other documents brought before the Court in the Bankruptcy Case,
 3   whether formal or informal, whether written or oral, and whether transmitted or conveyed by mail,
 4   messenger, service, facsimile or otherwise. By this request, the undersigned requests that such
 5   notice be provided to the following:
 6                  Michael A. Sweet
 7                  Keith C. Owens
                    Nicholas A. Koffroth
 8                  FOX ROTHSCHILD LLP
                    10250 Constellation Blvd., Suite 900
 9                  Los Angeles CA 90067
                    Telephone: (310) 598-4150
10
                    Facsimile: (310)556-9828
11                  msweet@foxrothschild.com
                    kowens@foxrothschild.com
12                  nkoffroth@foxrothschild.com

13          PLEASE TAKE FURTHER NOTICE that, pursuant to Section 1109(b) of the
14   Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in the
15   Bankruptcy Rules set forth above, but also includes, without limitation, any orders and notices,
16   applications, complaints, demands, motions, petitions, pleadings, disclosure statement or plan of
17   reorganization, or requests, whether formal or informal, written or oral, and whether transmitted or
18   conveyed by mail, overnight, or hand delivery, telephone, telegraph, telex, or otherwise filed or
19   made with regard to the Bankruptcy Case and proceedings therein.
20

21   Dated: June 29, 2023                         Respectfully submitted,
22                                                FOX ROTHSCHILD LLP
23
                                                  By: Nicholas A. Koffroth
24
                                                  Proposed Counsel to Official Committee
25                                                of Unsecured Creditors

26

27

28

                                                    -2-
Case 8:23-bk-10571-SC              Doc 161 Filed 06/29/23 Entered 06/29/23 19:09:08               Desc
                                    Main Document     Page 3 of 4


 1                                  PROOF OF SERVICE OF DOCUMENT
 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
     business address is 10250 Constellation Boulevard, Suite 900, Los Angeles, CA 90067.
 3
     A true and correct copy of the foregoing documents entitled NOTICE OF APPEARANCE
 4   AND REQUEST FOR SPECIAL NOTICE AND SERVICE OF PAPERS, AND REQUEST
     FOR INCLUSION ON MASTER MAILING LIST on the judge in chambers in the form and
 5
     manner required by LBR 5005-2(d); and (b) in the manner stated below:
 6   1.    TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
     Pursuant to controlling General Orders and LBR, the foregoing document will be served by the
 7   court via NEF and hyperlink to the document. On 6/29/2023, I checked the CM/ECF docket for
     this bankruptcy case or adversary proceeding and determined that the following persons are on the
 8   Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
 9
            Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
10          Ronald K Brown ron@rkbrownlaw.com
            Christopher Celentino christopher.celentino@dinsmore.com, caron.burke@dinsmore.com
11          Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
            Randall Baldwin Clark rbc@randallbclark.com
12          Leslie A Cohen leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com
            Christopher Ghio christopher.ghio@dinsmore.com
13          Jeffrey I Golden jgolden@go2.law,
             kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;gestrada@wgllp.com;golden.jeffre
14           yi.b117954@notify.bestcase.com
            Richard H Golubow rgolubow@wghlawyers.com,
15           jmartinez@wghlawyers.com;svillegas@wghlawyers.com
            D Edward Hays ehays@marshackhays.com,
16           ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.
             courtdrive.com
17          Alan Craig Hochheiser ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com
            Garrick A Hollander ghollander@wghlawyers.com,
18           jmartinez@wghlawyers.com;svillegas@wghlawyers.com
            Joon M Khang joon@khanglaw.com
19          Ira David Kharasch ikharasch@pszjlaw.com
            David S Kupetz David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com
20          Christopher J Langley chris@slclawoffice.com,
             omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com
21          Daniel A Lev daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
            Michael D Lieberman mlieberman@lipsonneilson.com
22          Richard A Marshack (TR) pkraus@marshackhays.com,
             rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com
23          Laila Masud lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
            Kenneth Misken Kenneth.M.Misken@usdoj.gov
24          Byron Z Moldo bmoldo@ecjlaw.com, amatsuoka@ecjlaw.com,dperez@ecjlaw.com
            Alan I Nahmias anahmias@mbn.law, jdale@mbnlawyers.com
25          Victoria Newmark vnewmark@pszjlaw.com
            Queenie K Ng queenie.k.ng@usdoj.gov
26          Teri T Pham tpham@enensteinlaw.com, 3135.002@enensteinlaw.com
            Douglas A Plazak dplazak@rhlaw.com
27          Ronald N Richards ron@ronaldrichards.com, 7206828420@filings.docketbird.com
            Gregory M Salvato gsalvato@salvatoboufadel.com,
28           calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com
            Olivia Scott olivia.scott3@bclplaw.com
     Active\118774763.v1-1/20/21
Case 8:23-bk-10571-SC              Doc 161 Filed 06/29/23 Entered 06/29/23 19:09:08                      Desc
                                    Main Document     Page 4 of 4


 1          Jonathan Serrano jonathan.serrano@dinsmore.com
            Paul R Shankman PShankman@fortislaw.com, info@fortislaw.com
 2          Leslie Skorheim leslie.skorheim@usdoj.gov
            Andrew Still astill@swlaw.com, kcollins@swlaw.com
 3          United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
            Sharon Z. Weiss sharon.weiss@bclplaw.com,
 4           raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com
            Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com;eweiman@wrslawyers.com
 5
     2.     SERVED BY UNITED STATES MAIL: On June 29, 2023, I served the following persons and/or
 6   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and
     correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed
 7   as follows.
 8   Parties not on ECF but require service of filings:
 9   Daniel A Edelman
     Edelman, Combs, Latturner & Goodwin, LLC
10   20 S Clark St Ste 1500
     Chicago, IL 60603-1824
11
     Grobstein Teeple LLP
12   23832 Rockfield Blvd suite 245
     Lake Forest, CA 92630
13
     Marshack Hays LLP
14   870 Roosevelt
     Irvine, CA 92620
15
     Jason Patterson Stopnitzky
16   52 Cupertino Circle
     Aliso Viejo, CA 92656
17

18    3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
     TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
19   F.R.Civ.P. 5 and/or controlling LBR, on June 29, 2023, I served the following persons and/or
     entities by personal delivery, mail service, or (for those who consented in writing to such service
20   method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
     declaration that personal delivery on, or overnight mail to, the judge will be completed no later than
21   24 hours after the document is filed.
22   The Honorable Scott C. Clarkson
23   United States Bankruptcy Court, Central District of California
     411 West Fourth Street, Suite 5130 / Courtroom 5C
24   Santa Ana, CA 92701-4593

25   I declare under penalty of perjury under the laws of the United States that the foregoing is true and
     correct
26
         6/29/2023                 Kimberly Hoang                                /s/ Kimberly Hoang
27       Date                        Printed Name                                        Signature
28
                                                            2
     Active\118774763.v1-1/20/21
